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UNITED STATES DISTRICT COURT FEB 10 2020
FOR THE SOUTHERN DISTRICT OF TEXAS
BROWNSVILLE DIVISION David J. Bradley, Clerk of Court

IN THE MATTER OF THE
APPLICATION OF THE UNITED
STATES OF AMERICA FOR AN
ORDER: (1) AUTHORIZING THE

USE OF A PEN REGISTER AND TRAP
AND TRACE DEVICE, AND

(2) AUTHORIZING RELEASE

OF SUBSCRIBER AND OTHER
INFORMATION ON AT&T
CELLULAR TELEPHONE NUMBER

(65.5) 340-8329

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Magistrate Case No. # S9-9 | A-| sy

(UNDER SEAL)

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APPLICATION FOR PEN REGISTER
AND TRAP AND TRACE DEVICE

A. INTRODUCTION

Paul Marian, an Assistant United States Attorney for the Southern District of Texas,
hereby applies to the Court for an Order:

1. Pursuant to 18 U.S.C. §§ 3122 and 3123, authorizing the installation and use of a
pen register and trap and trace device! on telephone number Mobile Identification Number (MIN):

(hereinafter referred to as the “Target Device”), a mobile telephone issued by

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! A “pen register” is a “device or process which records or decodes dialing, routing, addressing, or signaling
information transmitted by an instrument or facility from which a wire or electronic communication is transmitted,
provided, however, that such information shall not include the contents of any communication ...” 18 U.S.C. §
3127(3). A “trap and trace device” is “a device or process which captures the incoming electronic or other impulses
which identify the originating number” or other identifiers “reasonably likely to identify the source of a wire or
electronic communication, provided, however, that such information not include the contents of any communication.”
18 U.S.C. § 3127(4).
Case 1:19-mj-00913 Document 5 Filed on 02/10/20 in TXSD Page 2 of 12

2. Pursuant to 18 U.S.C. §§ 2703(c), 2703(d), 3122, and 3123 and 47 U.S.C. § 1002,
directing the Target Device’s service provider (including any internet service provider or other
electronic communications provider providing voice-over IP telephony [VoIP]),* and any and all
other telecommunication providers, persons, or entities providing wire or electronic
communications service in the United States whose assistance may facilitate the execution of the
Order, to disclose or provide, upon oral or written demand by agents of the Drug Enforcement
Administration (DEA) (hereinafter the “Investigative Agency”).

a. For the Target Device, records or other information pertaining to
subscriber(s) or customer(s) and call detail records? (including in two-way radio feature mode) for
the sixty (60) days from the date the Order is signed by the Court (but not including the contents
of communications).

b. For the Target Device after receipt and storage,’ records or other
information pertaining to subscriber(s) or customer(s), including the means and source of payment
for the service provided to the United States on a continuous basis for (a) the origination of a call
from the Target Device or the answer of a call to the Target Device, (b) the termination of the

call, but not including the contents of the communications.

 

2 VoIP is essentially a type of hardware and software that allows people to use the internet as a transmission
medium for telephone calls. In general, this means sending voice information in the form of digital packets of
information rather than sending it through the traditional public switch telephone network.

3 “Call detail records” are similar to toll records (i.e. historical telephone records of telephone activity, usually
listing outgoing calls and date, time, and duration of each call), which are made and retained in the ordinary course of
business. However “call detail records” is the term used when referring to toll records of mobile telephones rather
than hardline telephones.

4 “After receipt and storage” is intended to ensure that the information authorized under these paragraphs is
information that is first captured and recorded by the provider before being sent to the Investigative Agency.”

2
Case 1:19-mj-00913 Document 5 Filed on 02/10/20 in TXSD Page 3 of 12

C. After receipt and storage, the following subscriber records and other

information for all published, non-published, or unlisted dialing, routing, addressing, or signaling

information captured by the pen register and trap and trace device on the Target Device:

(A) name;

(B) address;

(C) local and long distance telephone connection records, or
records of session times and durations;

(D) _ length of service (including start date) and types of service
utilized;

(E) _ telephone or instrument number or other subscriber number
or identity, including any temporarily assigned network
address;

(F) date of birth;

(G) _ social security number;

(H)  driver’s license (state and number);

(1) contact names and numbers, and

(J) employment information.

d. Any and all changes (including additions, deletions, and transfers) in service

regarding the Target Device, including telephone numbers (including International Mobile

Subscriber Identity [IMSI] and Universal Fleet Member Identifier [UFMI]) and subscriber

information (published, non-published, listed, or unlisted) associated with these service changes.

B. CERTIFICATION FOR A PEN REGISTER AND A TRAP AND TRACE DEVICE
PURSUANT TO 18 U.S.C. §§ 3122 AND 3123

In support of this application, I state the following:

l. I am an “attorney for the Government” as defined in Rule 1(b)(1)(B) of the Federal

Rules of Criminal Procedure, and therefore, pursuant to 18 U.S.C. § 3122, may apply for an order

authorizing the installation and use of pen registers and trap and trace devices.

2. I certify that the information likely to be obtained from the pen register and trap

and trace device on the Target Device is relevant to an ongoing criminal investigation being

3
Case 1:19-mj-00913 Document 5 Filed on 02/10/20 in TXSD Page 4 of 12

conducted by the Investigative Agency in connection with possible violations of federal criminal
statutes, including, Title 21 U.S.C. 841 and 846, Title 18 U.S.C. 1956 and Title 31 U.S.C. 5332,
by a and others.
3. In accordance with 18 U.S.C. § 3121(c), Applicant has informed the Investigative
Agency that it shall use technology reasonably available to it to restrict the recording or decoding
of electronic or other impulses to the dialing, routing, addressing, and signaling information
utilized in the processing and transmitting of wire or electronic communications so as not to
include the contents of any wire or electronic communication.
4. Therefore, based upon the above Certification and pursuant to 18 U.S.C. §§ 3122
and 3123, I request that the Court issue an order authorizing:
a. The Investigative Agency to install or cause the provider to install and use
a pen register device(s) anywhere in the United States to record or decode dialing, routing,
addressing, or signaling information transmitted* from the Target Device, to record the date and
time of such dialings, routings, addressing, or transmissions, and to record the length of time the
telephone receiver in question is “off the hook” or connected for incoming or outgoing calls, for a
period of sixty (60) days from the date the order is signed by the Court.
b. The Investigative Agency to install, or cause the provider to install and use
a trap and trace device(s) on the Target Device anywhere in the United States to capture and record

the incoming electronic or other impulses which identify the originating numbers or other dialing,

 

5 Including dialing, routing, addressing, or signaling information transmitted over the communication service
provider’s network by a two-way radio feature (including, but not limited to, Nextel’s “Direct Connect/Direct
Dispatch,” Verizon Wireless’ “Push to Talk,” or Sprint’s “ReadyLink”). This two-way radio feature, like a walkie-
talkie, provides communication between similarly equipped mobile phones by pressing a button on the telephone. As
mentioned, information transmitted by the two-way radio feature will not disclose content of the call.

4
Case 1:19-mj-00913 Document 5 Filed on 02/10/20 in TXSD Page 5 of 12

routing, addressing, or signaling information® reasonably likely to identify the source of a wire or
electronic communication and to record the date, time, and duration of calls created by such
incoming impulses, for a period of sixty (60) days from the date the Order is signed by the Court.

©. That, pursuant to 18 U.S.C. § 3123(b)(1)(c), the requested installation and
use of a pen register as well as trap and trace device permit the use of each not only on the Target
Device, but also on any changed telephone number(s) or MIN(s) subsequently assigned to an
instrument bearing the same Electronic Serial Number (ESN), International Mobile Subscriber
Identity (IMSI), International Mobile Equipment Identity (IMEI), Universal Fleet Member
Identifier (UFMI), or Subscriber Identity Module (SIM) as Target Device, or any changed ESN,
IMSI, IMEI, UFMI and/or SIM subsequently assigned to the same MIN as Target Device, and
any additional changed MIN, ESN, IMSI, IMEI, UFMI and/or SIM, whether the changes occur
consecutively or simultaneously, listed to the same subscriber or account number as Target Device
within the 60-day period authorized by the Order.

5. I further request, pursuant to 18 U.S.C. §§ 3123(a)(1) and 3123(b)(2), the Order
direct that the furnishing of information, facilities, and technical assistance necessary to
accomplish the installation and operation of the pen register and trap and trace device by the
Target Device’s service provider (including any internet service provider or other electronic

communications provider providing VoIP), and any and all other telecommunication providers,’

 

6 Including dialing, routing, addressing, or signaling information transmitted over the communication service
provider’s network by a two-way radio feature (including, but not limited to, Nextel’s “Direct Connect/Direct
Dispatch,” Verizon Wireless’ “Push to Talk,” or Sprint’s “ReadyLink”). As mentioned, information transmitted by
the two-way radio feature will not disclose content of the call.

: The reference to “any and all other telecommunication providers” is necessary so that the Court order is still
effective in the event that the Target Device is transferred to another carrier pursuant to “Local Number Portability”

5
Case 1:19-mj-00913 Document 5 Filed on 02/10/20 in TXSD Page 6 of 12

persons, or entities providing wire or electronic communications service in the United States
whose assistance may facilitate the execution of the Order (hereinafter, collectively, the “Target
Device’s Service Provider|s]”’), occur unobtrusively and with a minimum of interference with the
services that are accorded the persons with respect to whom the installation and use is to take place,
with reasonable compensation to be paid by the Investigative Agency for reasonable expenses
directly incurred in providing such information, facilities, and assistance.

6. I further request that the Order direct the Target Device's Service Provider(s)
furnish the results of the pen register and trap and trace devices to the Investigative Agency as
soon as practicable.

7. I further request, because it is necessary to advance the purposes of this
investigation, that the Court’s Order direct the Target Device's Service Provider(s) not to
terminate or restrict service to the Target Device; provided that, upon notice to the Investigative
Agency that the Target Device's service would otherwise be terminated for non-payment pursuant
to routine billing practices, the Investigative Agency timely agrees in writing to assume financial
responsibility for all services provided to the Target Device after termination would otherwise
have been effectuated and continuing to the earlier of the Investigative Agency’s written notice

to terminate service or to the expiration of the Court order (and any extensions thereof).

 

(“LNP”). LNP allows a telephone user to change his telephone company but still keep the same telephone number.
However, to transfer (i.e. “port’””) a telephone number pursuant to LNP, the subscriber information must remain the
same. Thus, this reference applies if the Target Device is transferred (i.e. “ported”) to another telephone carrier, but
the telephone number and subscriber information remain the same.

6
Case 1:19-mj-00913 Document 5 Filed on 02/10/20 in TXSD Page 7 of 12

C. SPECIFIC AND ARTICULABLE FACTS ESTABLISHING REASONABLE
GROUNDS TO BELIEVE THAT SUBSCRIBER RECORDS RELEVANT AND
MATERIAL TO AN ONGOING CRIMINAL INVESTIGATION PURSUANT TO 18

U.S.C. § 2703

1. 18 U.S.C. § 2703(d) provides that a court may issue an order authorizing disclosure
of a record or other information pertaining to a telephone subscriber or customer (not including
the contents of communications) when a United States agency provides the Court with “Specific
and articulable facts showing that there are reasonable grounds to believe that ... the records or
other information sought, are relevant and material to an ongoing criminal investigation.” 18
U.S.C. § 2703(d).

2. The statute, by its own language, precludes holding the United States to a higher
standard of proof, such as probable cause. See Communications Assistance for Law Enforcement
Act (CALEA), Pub. L. No. 103-414 § 207(2), reprinted in 1992 U.S. Code Cong. & Admin. News
4292. The House Report reflected that “[t]his section imposes an intermediate standard to protect
on-line transactional records. It is a standard higher than a subpoena, but not a probable cause
warrant.” See H.R. Rep. No. 103-827, at 31-32 (1994), reprinted in 1994 U.S.C.A.A.N. 3489,
3511-12.

3. For the purposes of obtaining a court order for disclosure as described in 18 U.S.C.
§§ 2703(c)(1)(B) and 2703(c)(2), and in order to satisfy the requirements of 18 U.S.C. § 2703(d),
Applicant, based on discussions with DEA Special Agent (SA) Alejandro Lara, hereby sets forth
the following specific and articulable facts showing that there are reasonable grounds to believe
that the records and other information identifying subscribers (but not including the contents of

communications) for telephone numbers identified through the pen register and trap and trace
Case 1:19-mj-00913 Document 5 Filed on 02/10/20 in TXSD Page 8 of 12

device on the Target Device, subscriber information associated with any service changes
regarding the Target Device, and the records or other information pertaining to subscribers (but
not including the contents of communications) for the Target Device will be relevant and material
to an ongoing criminal drug investigation:

a. The Drug Enforcement Administration (DEA) is investigating allegations that be erRay
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importing or causing to be imported cocaine into the United States from Mexico and subsequently
further distribution to unknown destinations throughout the U.S. Additionally,
WR and others are believed to be transporting their narcotic proceeds from destinations
throughout the U.S. back to Rio Grande Valley, Texas area.

b. On August 2019, at the direction of the Agents, a confidential source placed a call to
[aie Se) at the Target Device. Confidential source advised Agents that the meeting
with aes was going to take place at a Flying J Gas Station in Edinburg, Texas. Agents
conducted surveillance of confidential source meeting with JM. On the same date, after
the meeting with Ea Agents debriefed the confidential source at a predetermined neutral
location. The confidential source stated that JM) smugeles the illegal narcotics from
Mexico into the Rio Grande Valley Area. [MM informed the confidential source that once
the illegal narcotics are in Rio Grande Valley Area, MM then facilitates the delivery of the
illegal narcotics to Atlanta, Georgia.

c. The confidential source stated that [J could transport kilograms of cocaine for
the confidential source to Atlanta, Georgia, and bring the money proceeds to the Rio Grande

Valley Area. Confidential source stated that JM said he takes about thirty to forty

8
Case 1:19-mj-00913 Document 5 Filed on 02/10/20 in TXSD Page 9 of 12

kilograms of cocaine to Atlanta, Georgia, to a black male and later between seven to ten days, the
black male calls cousin back to inform him that he already has the narcotics proceeds.

d. After further investigation, Agents were able to identify J aka I as
through the use of open sources and law enforcement
databases. Agents were able to obtain a recent photograph of [See ee ae from a

U.S. based driver license and was able to positively identify i to b- Hi

aa that met with confidential Source on August 2019 in Edinburg, Texas, discussing the
transportation of bulk cocaine from the Rio Grande Valley area in Texas to Atlanta, Georgia.

e. Based on my training and experience it is known that subjects involved in the illegal
drug trade commonly change cell phones, cell phone providers, use fake and pseudo-names, or no

identifying and/or subscriber information such as in Pre-Paid Phones. The TARGET DEVICE

referenced in paragraph 1, _is subscribe ») 3S ITD Ti?
ME, 2 dinburg, Texas 78541, and being utilized by as.

f. Based off this information, it is respectfully requested that Agents to be granted this Pen
Register and Trap and Trace Device request. This request is made in order to track and monitor
suspects activities and behaviors, routes of transportation, may lead to further seizures of narcotics
and narcotic transaction proceeds, and assist in identifying any other known and unknown
associates in this Drug Trafficking Organization.

g. In SA Lara’s experience, subjects involved in drug distribution very often use multiple
cell phones to compartmentalize their operations so certain subjects will only be privacy to certain
phone numbers. Additionally, multiple cells phones are utilized to better elude and confuse law

enforcement.
Case 1:19-mj-00913 Document5 Filed on 02/10/20 in TXSD Page 10 of 12

h. In SA Lara’s experience, information identifying the subscribers for numbers captured
by a pen register and trap and trace device, and subscriber information associated with service
changes, has yielded information that is relevant and material to, but not limited to, public
corruption and narcotics investigations. Such information includes leads relating to:

a) the names of suspected suppliers, customers, and other individuals who assist in
the distribution of narcotics,

b) the location of “stash” houses where narcotics are stored,

c) the identity of transportation sources used by the traffickers,

d) the location of money transfer businesses used by members of the operation to
launder proceeds from drug trafficking activities or through money which is
exchanged through co-conspirators,

e) the geographic breadth of the suspected trafficking cell, and

i. the identities of potential organizers, leaders, managers, or supervisors of the suspected
trafficking cell by examining the calling patterns revealed by the toll data.

j. SA Lara has advised Applicant that based upon his training and experience, one way to
identify co-conspirators is to evaluate the pattern of calls made to and from the Target Device —
and to obtain information identifying subscribers for these calls — and then conduct an investigation
concerning those individuals. Based upon subscriber information, SA Lara may then direct, where
appropriate, other investigators to conduct surveillance at these individuals’ addresses and
determine if criminal activity was occurring theré, which in turn could yield potential names of

co-conspirators.

10
Case 1:19-mj-00913 Document 5 Filed on 02/10/20 in TXSD Page 11 of 12

k. Obtaining the subscriber name, address, date of birth, social security number, driver’s
license information, contact names and numbers, employment information and method of
payment is critical to accurately identifying such subscribers because, among other things:

(1) if the subscriber name is a common one and/or the subscriber
address is not current, it can be difficult to accurately identify the
subscriber without a date of birth, driver’s license, or social security
number, especially in an area with a population large as that of the
Southern District of Texas;

(ii) if the subscriber name and address is fictitious, which frequently is
the case when criminals purchase telephones, all or part of the
remaining identification information may be truthful and help
identify the subscriber or lead to identifying other co-conspirators;

and

(iii) | by accurately identifying subscribers using the above-requested
information, agents can eliminate innocent individuals as targets.

4, Accordingly, baséd upon the above proffer, and pursuant to 18 U.S.C. §§
2703(c)(1)(B), 2703(d), 3122, and 3123, because there are reasonable grounds to believe that such
information is relevant and material to the ongoing investigation, I further request that the Court
issue an Order requiring the Target Device's Service Provider(s) to disclose, or provide upon
oral or written request by Special Agents/Task Force Officers of the Investigative Agency, the
information set forth above in Section A2.

D. REQUEST THAT THE ORDER PRECLUDE NOTICE AND THAT THE
APPLICATION AND ORDER BE FILED UNDER SEAL

Based upon the information provided in this application, I believe disclosure of the
requested court Order may result in flight from potential prosecution or the destruction of or
tampering with evidence, or may otherwise seriously jeopardize the investigation. Moreover, the

exact nature of the United States "pen register" device and its configuration is classified as a law

11
Case 1:19-mj-00913 Document5 Filed on 02/10/20 in TXSD Page 12 of 12

enforcement sensitive investigative technique, the disclosure of which would likely jeopardize
other on-going investigations, and/or future use of the technique. Therefore, pursuant to 18 U.S.C.
§§ 2705(b) and 3123(d), I request that this application and Order be SEALED, that the identity
of any targets of the investigation may be redacted from any copy of the order served on any
service provider or other person, and that the Court direct the Target Device's Service Provider(s)
not to disclose in any manner, directly or indirectly, by any action or inaction, the existence of the
Order, in full or redacted form, of the pen register or trap and trace devices, or of this investigation,
to the listed subscriber(s) for the Target Device, the occupant of said premises, the subscribers of
the incoming calls to or outgoing calls from the Target Device, or to any other person the listed
subscriber(s) for the Target Device, or to any other person until otherwise ordered by this Court.

I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief, and that this declaration was executed on September 3, 2019, in
Brownsville, Texas.

Respectfully submitted,

RYAN K. PATRICK
United States Attorney

aco e Marion

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12
